Case 1:03-md-01570-GBD-SN Document 272-7 Filed 06/30/04 Page 1 of 2




                      Exhibit 4
   Case 1:03-md-01570-GBD-SN Document 272-7 Filed 06/30/04 Page 2 of 2



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                          The Major Companies Database

                                Akel Trading Co Ltd

                      PO Box 33491, Riyadh 11448, Saudi Arabia

                     Tel: +966 (1) 498 2034 Fax:6 (1) 498 0382

                               Telex: 407443 AKEL SJ

REFERENCE-NO: A07943

LENGTH: 45 words

EXECUTIVES:
Hamad Al Hussaini (Chairman)
Abdulaziz Al Hussaini (Managing Director)
Mansour Almansour (Assistant General Manager)

EMPLOYEES: 200

DESCRIPTION: Import and distribution of agricultural equipment, pumps, electrical and
mechanical equipment and irrigation systems

AUDITORS: Ahmed Abdullah Bajnaid

BANKS: Al Rajhi Bank; Saudi American Bank; Riyad Bank

COUNTRY: Saudi Arabia

AGENCIES: Principal Agencies: Grundfos Pumps; Zetor Tractors; Legrand Electrical;
Suko; Rain Cat Systems

BRANCHES: Dammam; Buraydah; Riyadh; Sajir; Hail; Aljalah

REVENUES: USD 22,666,000

S-PER-EMPLOYEE: USD 113,330

SHAREHOLDERS: Hamad Al Hussaini
